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            LEE LITIGATION GROUP, PLLC
                                148 WEST 24TH STREET, 8TH FLOOR
                                      NEW YORK, NY 10011
                                       TEL: 212-465-1188
                                       FAX: 212-465-1181
                                    INFO@LEELITIGATION.COM

WRITER’S DIRECT:          212-465-1188
                          cklee@leelitigation.com

Via ECF                                                                           May 10, 2024
The Honorable Edgardo Ramos, U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

                 Re:      Neor et al v. Acacia Network, Inc., et al.
                          Case No.: 22-cv-04814

Dear Judge Ramos:

       We are counsel to Plaintiffs in the above-referenced matter. We write in response to
Defendants’ letter, dated May 7, 2024 (Dkt. No. 147), requesting sanctions related to the
depositions of affiants who filed declarations in support of Plaintiffs’ Motion for Conditional
Collective Certification. Since the filing of Defendants’ letter, Defendants have withdrawn their
request for sanctions and, as such, their request for sanctions is moot.

       We thank the Court for its time and attention to this matter.

Respectfully submitted,

/s/ C.K. Lee
C.K. Lee, Esq.

cc: all parties via ECF
